Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 1 of 11 Page ID #:5108



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  18                       UNITED STATES DISTRICT COURT
  19                     CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION
  20
  21
  22    STATE OF CALIFORNIA, et al., )        Case No. 2:19-cv-7390 DMG(AGRx)
                                        )
  23            Plaintiffs,             )     STIPULATION RE DISMISSAL
                                        )
  24    v.                              )     WITHOUT PREJUDICE
        ALEJANDRO MAYORKAS,             )
  25                                          Hearing Date: Not Set
        Secretary of Homeland Security, )
  26    et al.,                         )     Hon. Dolly M. Gee
                                        )     [Proposed] Order Filed Concurrently
  27            Defendants.             )
  28                                    )
                                        )
Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 2 of 11 Page ID #:5109



    1         Defendant U.S. Department of Health and Human Services and Defendant
    2 Xavier Becerra, in his official capacity as Secretary of the U.S. Department of Health
    3
      and Human Services (collectively “HHS”) and Plaintiffs have reached an agreement
    4
      to resolve Plaintiffs’ claims against HHS in this matter, and respectfully submit this
    5
      Stipulation Re Dismissal without Prejudice and Proposed Order.
    6
    7        WHEREAS, Plaintiffs State of California, Commonwealth of Massachusetts,
    8 State of Connecticut, State of Delaware, District of Columbia, State of Illinois, State
    9 of Maine, State of Maryland, State of Michigan, State of Minnesota, State of Nevada,
  10 State of New Jersey, State of New Mexico, State of New York, State of Oregon,
  11 Commonwealth of Pennsylvania, State of Rhode Island, State of Vermont,
  12
     Commonwealth of Virginia, and State of Washington (collectively “States”) filed a
  13
     Complaint, ECF No. 1, in this action on August 26, 2019, challenging a final rule
  14
  15 issued by the U.S. Department of Homeland Security and the U.S. Department of
  16 Health and Human Services pursuant to the terms of the Flores Settlement Agreement,
  17 Apprehension, Processing, Care, and Custody of Alien Minors and Unaccompanied
  18 Alien Children, 84 Fed. Reg. 44,392 (Aug. 23, 2019) (“Rule”);
  19
            WHEREAS, on August 30, 2019, the States moved for a preliminary injunction
  20
     under the Administrative Procedure Act (“APA”) and the motion was fully briefed and
  21
     set for hearing on October 4, 2019;
  22
  23        WHEREAS, on September 27, 2019, this Court issued orders in Flores v. Barr,
  24 concluding that the Rule did not terminate the Flores Settlement Agreement and
  25 enjoining enforcement of the Rule, Case No. 2:85-cv-4544 DMG (AGRx), Order re
  26 Plaintiffs’ Motion to Enforce Settlement [516] and Defendants’ Notice of Termination
  27 and Motion in the Alternative to Terminate the Flores Settlement Agreement [639],
  28
        ECF No. 688, (Order), and a Permanent Injunction, ECF No. 690;


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Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 3 of 11 Page ID #:5110



    1        WHEREAS, the parties to the instant matter agreed to stay the action pending
    2 further proceedings that could affect the force and scope of the Order and Permanent
    3 Injunction, ECF No. 89;
    4        WHEREAS, on December 29, 2020, in Flores v. Rosen, No. 19-56325, the
   5 Ninth Circuit Court of Appeals affirmed in part and reversed in part the district court’s
   6
     judgment in Flores v. Barr, Case No. 2:85-cv-04544-DMG (AGRx);
   7
            WHEREAS, the Ninth Circuit decision held that the HHS regulations in the
   8
     Rule that implemented obligations under the Flores Settlement Agreement would be
   9
     construed as mandatory;
  10
            WHEREAS, on January 15, 2021, the parties informed the Court that the States
  11
     wished to lift the stay on proceedings as to HHS and to file supplemental briefing on
  12
     the States’ preliminary injunction motion, ECF No. 103, and on January 20, 2021, the
  13
  14 Court lifted the stay and ordered supplemental briefing on the States’ preliminary
  15 injunction motion as to issues not resolved by the Ninth Circuit’s decision in Flores v.
  16 Rosen;
  17         WHEREAS, on March 3, 2021, the States filed a supplemental brief and
  18 declarations in support of a narrowed preliminary injunction motion that challenged,
  19 inter alia, a provision of the Rule’s HHS regulations allowing for redetermination of
  20 unaccompanied status and the Rule’s alleged general failure to use sufficiently
  21 mandatory language to describe the obligations of the Flores Settlement Agreement;
  22 the States filed further supplemental declarations on June 11, 2021, ECF Nos. 112,
  23 124, 135;
  24       WHEREAS, the parties have requested to stay and the Court has stayed briefing
  25 on the States’ preliminary injunction motion pending attempts by the parties to resolve
  26
     issues raised by the States’ narrowed preliminary injunction motion;
  27
            WHEREAS, on August 6, 2021, the parties filed a stipulation in which HHS
  28
     agreed to engage in rulemaking to potentially withdraw subsection two (2) from the


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Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 4 of 11 Page ID #:5111



    1 definition of “unaccompanied alien child,” from 45 C.F.R. § 410.101—addressing
    2 concerns raised by the States’ in their supplemental brief—and to stay that provision
    3 for one year, ECF. No. 134;
    4        WHEREAS, on August 10, 2021, the Court granted the parties’ stipulation and
   5 stayed the second part of the definition of “unaccompanied alien child” in 45 C.F.R.
   6
     § 410.101 of the HHS regulations in the Rule for one year and stayed resolution of the
   7
     States’ legal arguments regarding that provision until the completion of HHS’s
   8
     rulemaking process as to that provision, ECF. No. 135;
   9
            WHEREAS, the parties have met and conferred regarding the remaining issues
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     raised by the States’ narrowed preliminary injunction motion challenging aspects of
  11
     the HHS regulations in the Rule and have reached an agreement to resolve the States’
  12
     claims against HHS;
  13
  14        THEREFORE, the parties do HEREBY STIPULATE AND AGREE as follows:

  15              1. Plaintiffs will dismiss their claims against HHS without prejudice within
  16                 30 days of HHS taking the following action:
  17                    Issuance of a Final Rule (FR) under the timelines set out below,
  18                    pursuant to 5 U.S.C. § 553(b)(B), revising the HHS regulations in the
  19                    Rule to implement the Ninth Circuit’s Order in Flores v. Rosen,
  20                    including amending the language to describe agency and contractor
  21                    obligations under those regulations and make explicit HHS’s
  22                    position—accepted by the Ninth Circuit—that the HHS regulations
  23                    are mandatory;
  24         2.      HHS agrees to submit any FR for clearance to the U.S. Office of
  25                 Management and Budget within 60 days of this stipulation (by December
  26
                     7, 2021) and to endeavor to issue the FR as expeditiously as possible
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                     thereafter;
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Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 5 of 11 Page ID #:5112



    1       3.    However, if the States’ claims regarding HHS’s definition of
    2             “unaccompanied alien child” in 45 C.F.R. § 410.101 have not been
    3             resolved by the rulemaking contemplated by ECF No. 135, Plaintiffs’
    4             dismissal without prejudice under paragraph 1 above will be for all claims
    5             other than their APA claim challenging HHS’s definition of
    6
                  “unaccompanied alien child.”
    7
            4.    HHS will not seek termination of the Flores Settlement Agreement as to
    8
                  HHS until 180 days after the issuance of a FR referenced above in
    9
                  Paragraph 1.
  10
            5.    The parties agree that each side will bear its own fees and costs.
  11
            6.    The parties agree that the Court will have authority to resolve disputes
  12
                  regarding the terms of this stipulation.
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Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 6 of 11 Page ID #:5113



   1 Dated: October 8, 2021                     Respectfully submitted,
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Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 7 of 11 Page ID #:5114



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Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 10 of 11 Page ID
                                 #:5117


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10
11
     *Appearing Pro Hac Vice
12
13
14
                             Attestation of Authorization to File
15
     All other signatories listed, and on whose behalf the filing is submitted, concur in
16
17 the filing’s content and have authorized the filing.
18                                                  /s/ Fizza Batool
19                                                  FIZZA BATOOL
                                                    Trial Attorney
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Case 2:19-cv-07390-DMG-AGR Document 143 Filed 10/08/21 Page 11 of 11 Page ID
                                 #:5118


 1                             CERTIFICATE OF SERVICE
 2
 3 IT IS HEREBY CERTIFIED THAT:
 4
 5 I, Fizza Batool, am a citizen of the United States and am at least eighteen years of age.
 6 My business address is 450 Fifth Street, NW, Washington, DC 20001. I am not a party
 7 to the above-entitled action. I have caused service of the accompanying
 8 STIPULATION RE DISMISSAL WITHOUT PREJUDICE on all counsel of
 9 record, by electronically filing the foregoing with the Clerk of the District Court using
10 its ECF System, which electronically provides notice.
11 I declare under penalty of perjury that the foregoing is true and correct.
12
13 DATED: October 8, 2021
14
                                                        /s/ Fizza Batool
15                                                      FIZZA BATOOL
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